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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS



UNITED STATES OF AMERICA



        V.                                              Criminal No.


XIAONING SUI



                        Defendant                           SEALED
                              GOVERNMENT'S MOTION TO SEAL
                                              INDICTMENT


        Pursuant to Fed. R. Crim. P. 6(e)(4), the United States of America hereby moves this

Court to direct that the Indictment, this Motion to Seal, the Court's order on this motion, the

docket sheet, and any other paperwork related to this matter, be sealed until the defendant is

arrested. Accordingly, public disclosure of these materials will jeopardize the ongoing

investigation of this case.

        The United States further moves, pursuant to General Order 06-05, that the United States

Attorney, through undersigned counsel, be provided copies of all sealed documents that the

United States has filed in this matter.


                                                        Respectfully submitted,

                                                        ANDREW E. LELLING
                                                        United States Attorney
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                                                        ERIC S. ROSEN
                                                        Assistant U.S. Attorney

                                                        Date: March 5, 2019
